                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
               Plaintiff,                        )
                                                 )
 v.                                              )      No.:   3:08-CR-70-TAV-HBG-2
                                                 )
 HEATHER SHAY,                                   )
                                                 )
               Defendant.                        )


                              MEMORANDUM AND ORDER

         This criminal case is before the Court on the defendant=s pro se motion for a

 sentence reduction in light of 18 U.S.C. ' 3582(c) and Amendment 750 to the United States

 Sentencing Guidelines (the “Guidelines”), which reduces the base offense level for most

 offenses involving crack cocaine [Doc. 159]. The United States filed a response in

 opposition [Doc. 178]. The defendant’s counsel later filed a memorandum in support of

 the motion, asserting that United States v. Blewett authorized this Court to grant the

 defendant relief under § 3582(c) [Doc. 187], and the government responded in opposition

 [Doc. 193].

 I.      Legal Background

      A district court may modify a defendant’s sentence after judgment has been entered

 only if modification is permitted by statute. United States v. Ross, 245 F.3d 577, 586 (6th

 Cir. 2001). Modification is permitted by § 3582(c)(2) when the sentencing range for the

 offense for which the defendant was sentenced has been lowered:




Case 3:08-cr-00070-TAV-HBG        Document 208 Filed 06/23/14         Page 1 of 6    PageID
                                        #: 1160
              [I]n the case of a defendant who has been sentenced to a term of
              imprisonment based on a sentencing range that has subsequently been
              lowered by the Sentencing Commission pursuant to 28 U.S.C. §
              994(o) . . . the court may reduce the term of imprisonment, after
              considering the factors set forth in section 3553(a) to the extent that
              they are applicable, if such a reduction is consistent with applicable
              policy statements issued by the Sentencing Commission.

    18 U.S.C. § 3582(c)(2). The applicable policy statement is section 1B1.10 of the

 Guidelines Manual, which designates the amendments to the Guidelines that may be

 applied retroactively. See Dillon v. United States, — U.S. —, —, 130 S. Ct. 2683, 2691

 (2010) (“A court’s power under § 3592(c)(2) . . . depends in the first instance on the

 Commission’s decision not just to amend the Guidelines but to make the amendment

 retroactive.”); see also id. at 2693 (describing the Sentencing Commission’s retroactivity

 determinations made pursuant to 28 U.S.C. § 994(u) as “binding”). In relevant part,

 section 1B1.10 provides:

              (a)    Authority.--

              (1) In General.--In case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that defendant
              has subsequently been lowered as result of an amendment to the
              Guidelines Manual listed in subsection (c) below, the court may
              reduce the defendant’s term of imprisonment as provided by 18
              U.S.C. § 3582(c)(2). As required by 18 U.S.C. § 3582(c)(2), any
              such reduction in the defendant’s term of imprisonment shall be
              consistent with this policy statement.

              (2) Exclusions.--A reduction in the defendant’s term of imprisonment
              is not consistent with this policy statement and therefore is not
              authorized under 18 U.S.C. 3582(c)(2) if--

              ...


                                             2


Case 3:08-cr-00070-TAV-HBG          Document 208 Filed 06/23/14       Page 2 of 6       PageID
                                          #: 1161
              (B) An amendment listed in subsection (c) does not have the effect of
              lowering the defendant’s applicable guideline range.

 U.S. Sentencing Guidelines Manual § 1B1.10 (revised Nov. 1, 2012). The application

 notes to section 1B1.10 also provide that, in considering a reduction in a defendant’s term

 of imprisonment, a court must consider the § 3553 factors and the danger to the public

 created by any reduction in a defendant’s sentence. Id. § 1B1.10 cmt. n.1(B). A court

 may also consider a defendant’s post-sentencing conduct. Id.

       The FSA altered the statutory penalties for offenses involving crack cocaine and

 directed the Sentencing Commission to promulgate emergency amendments that would

 bring the Guidelines into conformity with its provisions. The result of that directive was

 Amendment 748, a temporary, emergency amendment, which included a downward

 adjustment of the base offense levels for possession of crack cocaine. On April 6, 2011,

 the Sentencing Commission re-promulgated as permanent the provisions of Amendment

 748 and on April 28, 2011, submitted the amendment for congressional review. See 76

 Fed. Reg. 24960, 24962 (May 3, 2011). On June 30, 2011, the Sentencing Commission

 voted to give Amendment 748 retroactive effect, to be designated Amendment 750 in

 Appendix C of the Guidelines.       See 76 Fed. Reg. 41332–35 (June 13, 2011).         On

 November 1, 2011, Amendment 750 went into effect, thus authorizing retroactive

 application of the lowered offense levels contained in the FSA for offenses involving

 possession of crack cocaine. Because Amendment 750 may now be applied retroactively,

 see U.S. Sentencing Guidelines Manual § 1B1.10(c), if the sentencing range for the

 defendant’s offense has been lowered by Amendment 750, then the Court has discretion
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Case 3:08-cr-00070-TAV-HBG        Document 208 Filed 06/23/14         Page 3 of 6     PageID
                                        #: 1162
 under § 3582(c)(2) to reduce the defendant’s sentence, after first considering the § 3553

 factors and whether the reduction is consistent with applicable policy statements issued by

 the Sentencing Commission.

 II.    Analysis

        The defendant pleaded guilty to and was convicted of conspiring to distribute and

 possess with intent to distribute at least fifty grams of crack cocaine, in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A) [Doc. 139]. Pursuant to the 2009 version of

 the Sentencing Guidelines, a quantity of 50 grams of crack cocaine yielded a base offense

 level of 30 [Presentence Investigation Report (“PSR”) ¶¶ 25, 30, 31]. After a three-level

 reduction for acceptance of responsibility, the defendant=s total offense level was 27 [Id. ¶¶

 37, 38]. In light of her criminal history category of V and the statutory mandatory

 minimum, the resulting Guidelines range was 120 to 150 months= imprisonment [Id. ¶¶ 51,

 69, 70]. Before sentencing, the government filed a motion for downward departure based

 upon the defendant=s substantial assistance. The Court granted the motion and sentenced

 the defendant to 72 months’ imprisonment, which was forty percent below the applicable

 Guidelines range and statutory mandatory minimum.

        Applying Amendment 750 to the this case reduces the defendant’s base offense

 level to 26, which results in a total offense level of 23, after a three-level reduction for

 acceptance of responsibility, and an amended Guidelines range of 84 to 405 months’

 imprisonment.     However, the defendant remains subject to the statutory mandatory

 minimum of 120 months, which makes her effective Guidelines range 120 months’

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Case 3:08-cr-00070-TAV-HBG         Document 208 Filed 06/23/14           Page 4 of 6    PageID
                                         #: 1163
 imprisonment. See U.S. Sentencing Guidelines Manual § 5G1.1(b); United States v.

 Johnson, 564 F.3d 419, 423 (6th Cir. 2009) (explaining that, where a statutory mandatory

 minimum exceeds the Guidelines range, that mandatory minimum becomes the Guidelines

 sentence). Moreover, the FSA does not eliminate the applicability of statutory mandatory

 minimums to defendants who were sentenced before its enactment. See United States v.

 Downs, 487 F. App’x 286, 287 (6th Cir. 2012) (“A sentence reduction pursuant to section

 3582(c)(2) can only be made on the basis of amendments to the sentencing guidelines.”).

 Thus, Amendment 750 does not have the effect of lowering the defendant’s Guidelines

 range.

          The defendant also seeks a sentence reduction in light of United States v. Blewett,

 719 F.3d 482 (2013). In Blewett, a divided panel of the Sixth Circuit Court of Appeals

 held that the Equal Protection Clause requires application of the FSA’s reduced statutory

 penalties to motions to reduce otherwise-final sentences under 18 U.S.C. § 3582(c),

 regardless of when a defendant was originally sentenced. 719 F.3d at 490–94.

          The government petitioned the Court of Appeals for a rehearing en banc. The

 Court of Appeals ultimately granted the government’s petition, and on December 3, 2013,

 reversed. The en banc panel held that the FSA’s “new mandatory minimums do not apply

 to defendants sentenced before it took effect” and that “§ 3582(c)(2) does not provide a

 vehicle for circumventing that interpretation.” — F.3d —, 2013 WL 6231727, at *2 (6th

 Cir. Dec. 3, 2013), cert. denied, 2014 WL 859676 (Mar. 31, 2014). The en banc panel

 further held that the Constitution does not dictate a different result. Id. Accordingly,

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Case 3:08-cr-00070-TAV-HBG          Document 208 Filed 06/23/14        Page 5 of 6    PageID
                                          #: 1164
 because Blewett no longer supports the defendant’s motion for a sentence reduction, the

 defendant’s motion in this regard will be denied.

 III.   Conclusion

        For the reasons given above, the defendant=s pro se motion for a sentence reduction

 [Doc. 159] is hereby DENIED.

        IT IS SO ORDERED.



                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE




                                             6


Case 3:08-cr-00070-TAV-HBG        Document 208 Filed 06/23/14        Page 6 of 6    PageID
                                        #: 1165
